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                                                                                     Item
           Case Number                          Subject                1A/1B/1D                                 FBI Data Descripton                              Description for Counsel
                                                                                    Number
100T-WF-3414040-                   100T-WF-3414040-                                            Open source videos                                       Open Souirce Videos incl MOSD
                                                                           1A           5
SUB_A_VIDEO                        SUB_A_VIDEO                                                                                                          Meeting)
                                                                                               Surveillance Footage                                     Colonial Parking and Airbnb
100T-WF-3414040-SUB_B              100T-WF-3414040-SUB_B                   1A          78                                                               Surveillance Video (also in 1B2 and
                                                                                                                                                        1B3)
100T-WF-3414040-SUB_B              100T-WF-3414040-SUB_B                   1A          106     Original Interview Notes                                             Interview and Notes
                                                                                               Video from TTK
100T-WF-3414040-SUB_B              100T-WF-3414040-SUB_B                   1A          136     "ML_DC_20210106_Sony_GC280A_0497.MXF                     Video Biggs Samsel
                                                                                                 audio mp4"
                                                                                               Videos depicting the Capitol Riot on January 6,
100T-WF-3414040-SUB_B              100T-WF-3414040-SUB_B                   1B           1      2021, were downloaded from the internet and     Open Source Videos (Various)
                                                                                               copied onto the captioned Blu-ray disc
                                                                                               One DVD containing video surveillance footage
100T-WF-3414040-SUB_B              100T-WF-3414040-SUB_B                   1B           2      from Colonial Parking Garage captured on        Colonial Parking Video
                                                                                               January 5, 2021
                                                                                               One DVD containing video surveillance footage
100T-WF-3414040-SUB_B              100T-WF-3414040-SUB_B                   1B           3      captured at                             ,       Airbnb Surveillance Video
                                                                                               Washington, DC
                                                                                               Hard Drive in an orange case containing video
100T-WF-3414040-SUB_B              100T-WF-3414040-SUB_B                   1B           4                                                               Videos
                                                                                               footage of the Capitol Riots
                                                                                               Western digital 2TB harddrive, serial number
                                                                                               WXG2A20K3FZ4, containing seized evidence        This item contains a subset of the
100T-WF-3414040-SUB_B              100T-WF-3414040-SUB_B                   1B           7
                                                                                               from review of evidence item 100T-WF-                    videos in item 1B4.
                                                                                               3414040-SUB B 1B4
100T-WF-3414040-SUB B              100T-WF-3414040-SUB B                   1D           4      Recording of                 interview                        Interview
                                   100T-WF-3414040-                                            (U) Return provided by Kroll
100T-WF-3414040-SUB_B_GJ                                                   1A           42                                                     Kroll            Returns re Airbnb
                                   SUB_B_GJ
100T-WF-3414040-                   100T-WF-3414040-                                            Official USCP footage of Ethan Nordean in the
                                                                           1A           2                                                               Nordean Capitol CCV
SUB_B_VIDEO                        SUB_B_VIDEO                                                 Capitol
100T-WF-3414040-                   100T-WF-3414040-                                            Official USCP footage of Joseph Biggs in the
                                                                           1A           3                                                               Biggs Capitol CCV
SUB B VIDEO                        SUB B VIDEO                                                 Capitol
100T-WF-3414040-                   100T-WF-3414040-                                            DVD of Paul Rae Videos
                                                                           1A           5                                                               Videos from Rae's Phone
SUB B VIDEO                        SUB B VIDEO
                                                                                               ONE CELLOPHANE CONTAINING: External
100T-WF-3414040-                   100T-WF-3414040-
                                                                           1B           1      Hard Drive containing footage from U.S Capitol           Initial Copy of           Videos
SUB_B_VIDEO                        SUB_B_VIDEO
                                                                                               breach on 01/06/2021
                                                                                               Compact disc of YouTube video "Support For
176-CE-3401971                     CHARLES DONOHOE                         1A           11                                                              Donohoe with Shield Video
                                                                                               President Trump at the Capital"
                                                                                               LA Times Video
176-CE-3401971                     CHARLES DONOHOE                         1A           25                                                              Donohoe LA Times Bottle Throw Video
176-CE-3401971                     CHARLES DONOHOE                         1B           11     Contains scoped results of 1B1                           Donohoe Scoped Phone




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                                                                                     Item
           Case Number                          Subject                1A/1B/1D                                 FBI Data Descripton                              Description for Counsel
                                                                                    Number
                                                                                               Search Warrant Execution Log; Sign-In Log;
176-PH-3400577                     ZACHARY REHL                            1A           11     Photograph Log; and search photographs on        Rehl Search Photos - Storage Unit
                                                                                               compact discs
                                                                                               Search Warrant Execution Log; Sign-In Log;
                                                                                               Photograph Log; Diagram/Sketch; Evidence
176-PH-3400577                     ZACHARY REHL                            1A           13     Collected Item Log; original executed FD-597     Rehl Search Photos - House
                                                                                               Receipt for Property Seized; Search photographs
                                                                                               (on compact discs); evidence item number
                                                                                               labels; room labels; and notes taken by
176-PH-3400577                     ZACHARY REHL                            1B           11     Scoped Results of 1B7                            Rehl Scoped iPhone
176-PH-3400577-GJ                  ZACHARY REHL                            1A           27     (U) Information from FDC                         Rehl Jail Calls and Docs
                                                                                                US Capitol CCTV footage for January 6, 2021
176-PH-3422014                     ISAIAH GIDDINGS                         1A           47                                                      Giddings Captiol CCV
                                                                                               at 14:53:23 EST
176-PH-3422014                     ISAIAH GIDDINGS                         1A           65     TTK Files                                        Giddings Captiol CCV
176-PH-3422014                     ISAIAH GIDDINGS                         1A           69     Interview Recording                              Giddings Post Arrest Interview
                                                                                               Photos shown during Interview (Photo 1, Photo
176-PH-3422014                     ISAIAH GIDDINGS                         1A           70                                                      Giddings Post Arrest Interview (Photos)
                                                                                               2, Photo 3, and Photo 5)
                                                                                               Copy of the United States (US) Capitol Police
                                                                                               CCTV Footage for the January 6, 2021 US
176-PH-3422014                     ISAIAH GIDDINGS                         1B           2                                                       Giddings Captiol CCV
                                                                                               Capitol Building Breach - CD Format
                                                                                               (Derivative)
                                                                                               One derivative DVD-R containing evidence from
176-PH-3422014                     ISAIAH GIDDINGS                         1B           4      a Samsung Phone (IMEI: 356544763002182),         Giddings Scoped Samsung Phone
                                                                                               RHRCFL 22-203
                                                                                               Interview (Custodial) DTD - 12/10/21 - FBI
176-PH-3422014                     ISAIAH GIDDINGS                         1D           2                                                       Giddings Post Arrest Interview (Copy)
                                                                                               Philadelphia
176-PH-3513699                     BRIAN HEALION                           1A           10     Signed advise of rights form                     Healion Advice of Rights Form
                                                                                               1) Digital copy of the search warrant with
                                                                                               attachments; (2) Search photographs (on
                                                                                               compact discs) and Photograph Log (with digital
176-PH-3513699                     BRIAN HEALION                           1A           11     copy); (3) Administrative search paperwork       Healion Search Photos and Docs
                                                                                               (with digital copies) to include the Search
                                                                                               Warrant Execution Log, Sign-In Log, and
                                                                                               Diagram/Sketch; and (4) room labels
176-SE-3393205                     JEREMY GRACE                            1A           7      Agent notes                                      Jeremy Grace Interview and Notes
                                                                                               Original DVD containing digital search
                                                                                               photographs and corresponding photo log; room
176-SE-3393205                     JEREMY GRACE                            1A           15                                                      Jeremy Grace Search Docs
                                                                                               label forms; sketch of the residence; evidence
                                                                                               collected item log; and receipt of property form
176-SE-3393205                     JEREMY GRACE                            1A           16     FD-597s                                          Jeremy Grace Phone Receipt




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                                                                                     Item
           Case Number                          Subject                1A/1B/1D                                 FBI Data Descripton                              Description for Counsel
                                                                                    Number
                                                                                               One DVD containing a YouTube video file that
                                                                                               was posted on YouTube chennl "Buggs Media
176-SE-3393205                     JEREMY GRACE                            1A           20                                                       Grace Open Source Video
                                                                                               Network." The video depicts the initial breach
                                                                                               on the west side of the U.S. Capitol grounds.
176-SE-3393205                     JEREMY GRACE                            1A           23     Agent notes                                       Jeremy Grace Interview and Notes
176-SE-3393205                     JEREMY GRACE                            1A           24     Agent notes                                       Jeremy Grace Interview and Notes
                                                                                               One CD containing two recordings. Note, the
                                                                                               recording device's time clock was 19 minutes
176-SE-3393205                     JEREMY GRACE                            1D           1      ahead of actual time. The times noted below are Grace Interview Recording
                                                                                               per the captured inaccurate time start/end times.
                                                                                               Session 1: 8:19 AM / 8:24 AM Session 2: 9:41
                                                                                               AM/ 10:15 AM
                                                                                               Two CDs photos, photo log, sign-in log,
176-TP-3398917                     PAUL RAE                                1A           12     administrative worksheet, FD-597, execution       Rae Search Photos and Docs
                                                                                               log, room letters, evidence log, sketch
                                                                                               Photographs of Evidence Items Checked Out on
176-TP-3398917                     PAUL RAE                                1A           18                                                       Rae Photos of Evidence Items
                                                                                               4/27/2021
                                                                                               Disc containing photographs of items seized
176-TP-3398917                     PAUL RAE                                1A           19                                                       Rae Photos of Evidence Items
                                                                                               from Paul Rae's residence on 3/24/2021
176-TP-3398917                     PAUL RAE                                1A           24     Video clip from inside the U.S. Capital Building Rae Capitol CCV
                                                                                               Three (3) DVDs containing video surveillance
176-TP-3398917                     PAUL RAE                                1A           25                                                       Rae Capitol CCV
                                                                                               footage.
176-TP-3398917                     PAUL RAE                                1A           29     Video from January 6, 2021                        Rae Open Source Videos
                                                                                               Blu-ray disc containing the scoped copy of 1B11 -
176-TP-3405844                     NATHANIEL TUCK                          1B           13                                                       N. Tuck Scoped Samsung Phone
                                                                                                Samsung cellular phone
                                                                                               Scoped Information from 1B8 - iPhone 11 Pro;
176-TP-3405844                     NATHANIEL TUCK                          1B           14                                                       N. Tuck Scoped iPhone
                                                                                               Serial: F17ZH5YJN6XQ
                                                                                               Scoped Information from 1B10 - Apple laptop
176-TP-3405844                     NATHANIEL TUCK                          1B           15     MacBook Pro; S/N: C02RR4NQFVH3 with               N. Tuck Scoped MacBook
                                                                                               black Jabra
176-TP-3405844                     NATHANIEL TUCK                          1D            1     One original computer disk dated 7/15/21.         N. Tuck Custodial Interview
176-WF-3366759-BIGGS               JOSEPH BIGGS                            1A           14     (U) Search Warrant Photos                                 Residence Search Photos
                                                                                               DEWFScoped_iCloud_E6823327_1B2: One (1)
                                                                                               25GB Blu-Ray disc containing a master copy        Initial Scoping of Biggs Apple Account
176-WF-3366759-BIGGS               JOSEPH BIGGS                            1B           5
                                                                                               Cellebrite Reader report of                       - item 1B2 in WF file)
                                                                                               "Scoped iCloud Biggs."
                                                                                               Disc containing footage of from the U.S. Capitol
176-WF-3366759-GARCIA              GABRIEL GARCIA                          1A           6                                                        Garcia Captiol CCV
                                                                                               Rotunda
                                                                                               Disc containing footage of from the U.S. Capitol
176-WF-3366759-GARCIA              GABRIEL GARCIA                          1A           8                                                        Carcia Capitol CCV
                                                                                               "Senate Wing Door" entrance and Crypt




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                                                                                     Item
           Case Number                          Subject                1A/1B/1D                                 FBI Data Descripton                              Description for Counsel
                                                                                    Number
                                                                                               (U//FOUO)
                                                                                               Interrogation Report for Lock #245
176-WF-3366759-GREENE              MATTHEW GREENE                          1A           18                                                    Greene JW Marriott Garage Video
                                                                                               Two (2) thumb drives containing surveillance
                                                                                               photos
                                                                                               Video 5446-Youtube_video_blog - Video by
                                                                                               YouTuber who goes by Stephen Ignoramus
176-WF-3366759-NORDEAN             ETHAN NORDEAN                           1A           11                                                    Open Souce Video
                                                                                               filmed himself and others entering the Capitol
                                                                                               building
                                                                                               Video provided of Interior Rotunda by USCP of
176-WF-3366759-NORDEAN             ETHAN NORDEAN                           1A           12                                                    Nordean Capitol CCV
                                                                                               January 06, 2021
                                                                                               Copy of video obtained from CIARPELLI's device
176-WF-3366759-NORDEAN             ETHAN NORDEAN                           1A           13                                                    Video from Ciarpelli
176-WF-3366759-NORDEAN             ETHAN NORDEAN                           1A           15     Videos from Rumble RufioPanman                           Nordean Open Source Rumble Videos
                                                                                               RECORDING OF CUSTODIAL INTERVIEW
176-WF-3366759-OCHS                NICHOLAS OCHS                           1D           1      on 01/07/2021 of Nicholas R. OCHS at Kapolei,            Ochs Custodial Interview
                                                                                               Hawaii, (FBI Honolulu FO).
176-WF-3366759-PEZZOLA             DOMINIC PEZZOLA                         1A           22     (U//FOUO) Interview notes for                .                     Interview Notes
176-WF-3366759-PEZZOLA             DOMINIC PEZZOLA                         1A           88     (U//FOUO) Open source videos                             Open Source Videos
                                                                                               (2) Blu-ray DVDs with Scoped Results for
176-WF-3366759-REHL                ZACHARY REHL                            1B           5                                                               Rehl Scoped Apple Account
                                                                                               Zachary Rehl(Apple Return)
266N-TP-3395185                    CHRISTOPHER WORRELL                     1A           23     Photo Log and and Scene Sketch                           Worrell Search Photos and Docs
266N-TP-3395185                    CHRISTOPHER WORRELL                     1A           24     Photo Log and Search Warrant Photos                      Worrell Search Photos and Docs
                                                                                               Evidence Grade CD-R disk (DETP2) containing
266N-TP-3395185                    CHRISTOPHER WORRELL                     1B           28     #SgtPepperSprayer video from                             Worrell Open Source Videos
                                                                                               www.jan6attack.com
                                                                                               Evidence Grade CD-R disk (DETP3) containing
266N-TP-3395185                    CHRISTOPHER WORRELL                     1B           29                                                              Worrell Open Source Flickr Images
                                                                                               photos downloaded from fliclr website
                                                                                               Imation DVD+R disk (DETP4) containing
266N-TP-3395185                    CHRISTOPHER WORRELL                     1B           31     "bellingcat" videos downloaded from internet             Worrell Open Source Videos
                                                                                               website
                                                                                               Verbatim DVD+R DL disk (DETP6) contains
266N-TP-3395185                    CHRISTOPHER WORRELL                     1B           33                                                              Worrell Scoped iPhone, Laptop
                                                                                               updated final bookmark
                                                                                               Verbatim CD-R disk containing copy of case file
266N-TP-3395185                    CHRISTOPHER WORRELL                     1B           34                                                              Worrell Scoped Facebook Account
                                                                                               serial #70 and 1A package material
                                                                                               CD-R with a copy of the full video, downloaded
266O-BF-3370697                    DOMINIC PEZZOLA                         1A           16                                                              Pezzola w Riot Shield Video
                                                                                               from YouTube on April 8, 2021.
266O-BF-3370697                    DOMINIC PEZZOLA                         1A           19     Video Footage                                            Pezzola Dec 2020 Marriott Footage
                                                                                               Copy of thumb drive 1B12.                                Pezzola Thumb Drive w Docs re
266O-BF-3370697                    DOMINIC PEZZOLA                         1B           20
                                                                                                                                                        Bombs etc.
266O-JK-3374931                    JOSEPH BIGGS                            1A           4      (U) Search Photos                                        Biggs Residence Search Photos
                                                                                               (U) Official USCP footage of Joseph Biggs in
266O-JK-3374931                    JOSEPH BIGGS                            1A           18                                                              Biggs Captitol CCV
                                                                                               the Capitol



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                                                                                     Item
           Case Number                          Subject                1A/1B/1D                                 FBI Data Descripton                              Description for Counsel
                                                                                    Number
                                                                                               Scoped results of 1B2, 1B5, 1B18, 1B22, 1B24,            Scoped Items: 1B2 (Apple Acct); 1B5
                                                                                               and 1B40.                                                (Go Pro); 1B18 (iMac); 1B22 (Apple
266O-JK-3374931                    JOSEPH BIGGS                            1B           44
                                                                                                                                                        Laptop); 1B24 (MacBook); 1B40
                                                                                                                                                        (Google SW)
                                                                                               Original copy - scoped version of Evidence Item
                                                                                               1B53 in case 176-WF-3366759, iPhone 11 Pro
266O-JK-3374931                    JOSEPH BIGGS                            1B                                                                  Scoped        iPhone 11 Pro
                                                                                               (IMEI 353232105690418, MSISDN
                                                                                        45     15597181770).
266O-JK-3374931                    JOSEPH BIGGS                            1B           46     Scoped results of Block iPhone 12 Pro.          Scoped        iPhone 12
                                                                                               One CD of the audio of non custodial overt
                                                                                               interview of Joseph Randall Biggs on
266O-JK-3374931                    JOSEPH BIGGS                            1D                  01/18/2021 at                                   Biggs Interview 1.18.2021
                                                                                                           Interview was conducted by SA Todd
                                                                                         1     Myers and TFO Tarek Houssamy
266O-MM-3372461                    HENRY ENRIQUE TARRIO                    1A           28     Search Warrant return                           Tarrio Biggs Pezzola Parler Returns
266O-MM-3372461                    HENRY ENRIQUE TARRIO                    1A           83     Search Documentation                            Tarrio Residence Search Photos
                                                                                               Scoped Results of 1B1. Contains all scoped sub-
266O-MM-3372461                    HENRY ENRIQUE TARRIO                    1B           7                                                      Tarrio Scoped Silver iPhone (1B1)
                                                                                               reports for 1B1.
                                                                                               (U) Non-custodial surreptitious interview
                                                                                               intercepted on 3/8/22 at
266O-MM-3372461                    HENRY ENRIQUE TARRIO                    1D           4          Miami, FL. Downloaded on 3/11/22 with the Tarrio Post Arrest Interview
                                                                                               following interceptee(s):

                                                                                               Enrique Tarrio
266O-MM-3372461-GJ                 HENRY ENRIQUE TARRIO                    1A           26     (U) Return                                         Tarrio FL Dept Econ Opp
266O-MM-3407180                    GILBERT FONTICOBA                       1A           12     Capitol Building Videos                            Fonticoba Capitol CCV
                                                                                               Evidence Collected Item Log, Crime Scene Sign-
266O-MM-3407180                    GILBERT FONTICOBA                       1A           19     In Log, ERT Photographic Log, disc containing Fonticoba Search Photos and Docs
                                                                                               photographs and two FD-597
266O-MM-3407180                    GILBERT FONTICOBA                       1A           21     DVD containing Telegram photos and videos          Fonticoba Telegram Channel Media
                                                                                               2 DVDs containing clips from the Quested
266O-MM-3407180                    GILBERT FONTICOBA                       1A           23                                                        Fonticoba Clips from        Video
                                                                                               interview.
                                                                                               ONE CELLOPHANE containing:
                                                                                               DEWFResults_256865_1B1: One (1)
266O-NY-3368357                    WILLIAM PEPE                            1B           17     8.5 Gigabyte Verbatim DVD disc containing          Pepe Scoped Galaxy Phone 1B1
                                                                                               Cellebrite Reader report of tagged/scoped items
                                                                                               from evidence item 1B1.
                                                                                               See attached 1A for collected evidence item log,
                                                                                               sign in sheet, photo log, Photos (one original and
266O-PH-3483403                                                            1A           8      one copy), copy of search warrant and                      Search Photos and Docs
                                                                                               attachments, room labels, sketch, and receipt
                                                                                               (FD-759)



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                                                                                     Item
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                                                                                    Number
                                                                                               DVD with copy of PGC bodycam video from
266O-PH-3483403                                                            1A           1                                                               PA Bodycam Video
                                                                                               Incident on July 31, 2021
266O-SE-3378347                    JEFFREY GRACE                           1A            4     Agent notes.                                    Jeffrey Grace Interview and Notes
266O-SE-3378347                    JEFFREY GRACE                           1A            6     Agent notes.                                    Jeremy Grace Interview and Notes
266O-SE-3378347                    JEFFREY GRACE                           1A           12     Agent notes.                                    Jeffrey Grace Arrest Notes
266O-SE-3378347                    JEFFREY GRACE                           1A           18     WSJ Video                                       WSJ Version of Block Video
                                                                                               One compact disc containing recorded video
                                                                                               recorded interviews JEFFREY GRACE
266O-SE-3378347                    JEFFREY GRACE                           1A           19                                                     Jeffrey Grace News Interview
                                                                                               conducted with KATU News on March 19,
                                                                                               2021, and KGW News on March 22, 2021.
                                                                                               Compact disc containing a video posted on
                                                                                               YouTube.com at URL
266O-SE-3378347                    JEFFREY GRACE                           1A           25     www.youtube.com/watch?v=7iJhSz-crII. The        Jeffrey Grace Open Source Video
                                                                                               video was posted on YouTube Channel
                                                                                               Buggs Media Network
                                                                                               One compact disc containing the following video
                                                                                               and audio files: YouTube: Our House USA -
                                                                                               05/29/2021 YouTube: Our House USA -
266O-SE-3378347                    JEFFREY GRACE                           1A           26     06/22/2021 Oreo Express Interviews Jeff Grace - Jeffrey Grace Open Source Video
                                                                                               06/16/2021 Talk Radio 1550 KXEX -
                                                                                               06/15/2021 Rebel Radio Now! EP56 Meet Jeff
                                                                                               Grace - 06/14/2021
                                                                                               CD Containing Police Bodycam Video, Signed
266O-SE-3378347                    JEFFREY GRACE                           1A           27                                                     Jeffrey Grace BWC Video July 2021
                                                                                               FD-597
                                                                                               Official USCP footage of Ethan Nordean in the
266O-SE-3380382                    ETHAN NORDEAN                           1A           79                                                     Nordean Capitol CCV
                                                                                               Capitol
                                                                                               Paperwork regarding chain of custody and        Nordean Chain of Custody Form
266O-SE-3380382                    ETHAN NORDEAN                           1A
                                                                                        81     evidence log                                    Macbook Image
                                                                                               DEWFResults_242794_1B18_1: One (1) 25
                                                                                               Gigabyte Verbatim Blu-Ray disc containing
266O-SE-3380382                    ETHAN NORDEAN                           1B           21                                                     Nordean Scoped Phone (1B18)
                                                                                               Cellebrite Reader reports of tagged/scoped data
                                                                                               from evidence item 1B18
                                                                                               DEWFResults_2443990_1B8_1: One (1) 25
                                                                                               GB Verbatim Blu-Ray disc containing ADLab
266O-SE-3380382                    ETHAN NORDEAN                           1B           23     and BlackLight reports of                       Nordean Scoped Laptop (1B8)
                                                                                               tagged/bookmarked items from evidence item
                                                                                               1B8
                                                                                               DEWFResults_244390_1B8_2: One (1) 25
                                                                                               GB Verbatim Blu-Ray disc containing
                                                                                                                                               Nordean Scoped Laptop Messages
266O-SE-3380382                    ETHAN NORDEAN                           1B           25     Blacklight HTML Report, PDF Report, and
                                                                                                                                               (1B8)
                                                                                               Portable Case of messages tagged as scoped
                                                                                               from evidence item 1B8
266O-SE-3380382-GJ                 ETHAN NORDEAN                           1A           41     (U)                                             Nordean Jail Calls


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                                                                                     Item
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                                                                                    Number
                                                                                               Original search warrant certification return for
266O-SE-3409708                                                            1A           22                                                                 CSLI SW Return Docs
                                                                                               telephone number
266O-SE-3409708                                                            1A           27     Google Search Warrant Return                                Google SW Return Docs
266O-SE-3409708                                                            1A           28     Signed Apple search warrant return.                         Apple SW Return Docs
                                                                                               Email with two attachments from T-Mobile US,
266O-SE-3409708                                                            1A           29                                                                 Tmobile Supp Returns)
                                                                                               Inc.
266O-SE-3409708                                                            1A           35      Images shown to                       .                    Interview and Photos
                                                                                               DVD of
                                                                                                              and “January 6 DC RAW Video |
266O-SE-3409708                                                            1A           39     Capitol building footage, clashes with police.” -           Open Source Videos
                                                                                               Benjamin Reports *                 previously
                                                                                               uploaded the videos to USAfx for use by the case
                                                                                               agent and AUSAs
                                                                                               Derivative Evidence (DESE-3) - Disc containing
                                                                                               the results of the review of the Cellebrite
266O-SE-3409708                                                            1B           3      generated reports and other data from Apple                 Scoped Apple Account
                                                                                               Search Warrant production, reference account
                                                                                               DSID 12155011003
                                                                                               Derivative Evidence (DESE4) - Disc containing
                                                                                               the results of the review of the Cellebrite
266O-SE-3409708                                                            1B           4                                                                  Scoped Google Account
                                                                                               generated reports and other data from Google
                                                                                               Search Warrant production
                                                                                               Subpoena for
266O-SE-3409708-GJ                                                         1A           5                                                                       Service
                                                                                                             and completed return of service form.
                                                                                               Physical discs with the videos from YouTube         Scott Milkshake Happy Hour Youtube
266O-TP-3375935                    DAN LYONS SCOTT                         1A           47
                                                                                               channel Milkshake Happy Hour                        Video
                                                                                               Crime Scene Sign in Log, Evidence Collected
266O-TP-3375935                    DAN LYONS SCOTT                         1A           56                                                         Scott Search Photos and Docs
                                                                                               Item Log
266O-TP-3375935                    DAN LYONS SCOTT                         1A           57     Original FD-597                                     Scott Search Photos and Docs
266O-TP-3375935                    DAN LYONS SCOTT                         1A           58     Original CD Crime Scene Photos                      Scott Search Photos and Docs
266O-TP-3375935                    DAN LYONS SCOTT                         1A           59     Room letters from crime scene search                Scott Search Photos and Docs
266O-TP-3375935                    DAN LYONS SCOTT                         1A           60     Photo logs and sketch from residence                Scott Search Photos and Docs
                                                                                               Disc containing TPD body worn camera footage
266O-TP-3402887                    ALAN FISCHER                            1A           5                                                          Fischer Traffic Stop BWC Video
                                                                                               of traffic stop
                                                                                               U.S. Capitol Surveillance Footage - 0074 USCH
266O-TP-3402887                    ALAN FISCHER                            1A           15                                                         Fischer Captiol CCV
                                                                                               BA Lower
                                                                                               Videos of Alan Edward Fischer from
266O-TP-3402887                    ALAN FISCHER                            1A           26                                                         Fishcer Open Source Videos
                                                                                               Jan6Attacks website
266O-TP-3402887                    ALAN FISCHER                            1A           29     Videos of FISCHER                                   Fischer Open Source Videos
                                                                                               Original photos and original photo log from 13
266O-TP-3402887                    ALAN FISCHER                            1A           36     January 2022 search of                              Fischer Search Photos

266T-AL-3370881                    MATTHEW GREENE                          1A           5      Interview Notes                                          Greene Post Arrest Interview and Notes


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                         This index and the listed materials are designated Highly Sensitive under the governning Protective Orders in U.S. v. Nordean et al., 21-cr-175 (TJK).



                                                                                     Item
           Case Number                          Subject                1A/1B/1D                          FBI Data Descripton                                     Description for Counsel
                                                                                    Number
266T-AL-3370881                    MATTHEW GREENE                          1A          24   CD/DVD of Recorded Inmate Calls                             Greene Jail Calls and Docs
                                                                                           Interview Notes
266T-AL-3370881                    MATTHEW GREENE                          1A          31                                                               Greene 10.28.2021 Interview and Notes
                                                                                               DEAL5: RESULTS COPY - Bookmarked items
                                                                                                                                               Greene Scoped 1B8 Laptop and 1B25
266T-AL-3370881                    MATTHEW GREENE                          1B           36     from 1B8 Matthew Greene's laptop and 1B25
                                                                                                                                               Phone
                                                                                               Samsung Galaxy View
                                                                                               Matthew Greene Voluntary Transport
266T-AL-3370881-ELA                MATTHEW GREENE                          1D           1                                                      Greene Audio of Consent to Transport
                                                                                               Confirmation Recording
266T-AL-3370881-ELA                MATTHEW GREENE                          1D           2      Matthew Greene Transport Recording              Greene Audio of Transport
266T-AL-3370881-ELA                MATTHEW GREENE                          1D           3      Matthew Greene Interview on 01/18/2021          Greene Audio of Interview 1.18.2021
                                                                                               Matthew Greene Interview Audio/Video
266T-AL-3370881-ELA                MATTHEW GREENE                          1D           4                                                      Greene Video of Interview 1.18.2021
                                                                                               Recording
                                                                                               DVD-R Disk containing an audio recording of
                                                                                               the custodial interview of MATTHEW JAMES
266T-AL-3370881-ELA                MATTHEW GREENE                          1D           5      GREENE at the Syracuse FBI Office, located at Greene Audio of Interview 4.21.2021
                                                                                               250 S. Clinton Street, Ste 330, Syracuse, NY on
                                                                                               04/21/2021
                                                                                               sign in log, evidence collected items log,
                                                                                               administrative worksheet, search warrant
266T-BA-3407993                                                            1A           20                                                             Search Photos and Docs
                                                                                               execution log, sketch, photo log, room letters,
                                                                                               and copies of the FD-597 receipt form
266T-BA-3407993                                                            1B           12     Scoped results of 1B1                                   Scoped G8 Phone
266T-BA-3407993                                                            1D            1     Surreptitious Interview (                               Search Recording
266T-CE-3370832                                                            1A           27     Stripe subpoena returns.                               Stripe GJS Returns
266T-CE-3370832                                                            1A           61     Search Warrant Documents                               Search Photos
266T-CE-3370832                                                            1B            1     DVD - Video recordings from Rumble                     Rumble Videos
266T-HN-3371332                    NICHOLAS OCHS                           1A           47     Scoped/Reviewed SW returns                      Ochs Scoped Google
                                                                                               CART: DEHN4 CART generated report
266T-HN-3371332                    NICHOLAS OCHS                           1B           11                                                     Ochs Scoped Twitter
                                                                                               pursuant of case agent select material of 1B7.
                                                                                               CART: DEHN5 CART generated report
266T-HN-3371332                    NICHOLAS OCHS                           1B           12                                                     Ochs Scoped Parler
                                                                                               pursuant of case agent select material of 1B2.
                                                                                               CART: DEHN7 Report of case agent selected
266T-HN-3371332                    NICHOLAS OCHS                           1B           14     material from WF-3366759-OCHS Silver HP         Ochs Scoped Laptop
                                                                                               laptop.
                                                                                               DEHN8: CART generated report pursuant SUID:
266T-HN-3371332                    NICHOLAS OCHS                           1B           15     255874 of case agent select material of 1B15    Ochs Scoped Phone

176-WF-3366759-COLON               LOUIS ENRIQUE COLON                     1D            1     Recorded Interview of Louis Colon                        Recorded Interview of Colon
266T-PG-3397952                    JEFFREY FINLEY                          1A           21     Video of JEFFERY FINLEY inside U.S. Capitol              Finley Capitol CCV
266T-PG-3397952                    JEFFREY FINLEY                          1A           25     Search of             .,             WV                  Finley Search Photos and Docs
                                                                                               Receipt of NTOC Lead and Review of 5 April               Finley Twitch Livestream
266T-PG-3397952                    JEFFREY FINLEY                          1A           38
                                                                                               2021 Twitch Live Stream Featuring Jeffery
266T-PG-3397952                    JEFFREY FINLEY                          1A           41     To Document Original Proffer Notes in 1A                 Finley Proffer Notes


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                                                                                     Item
           Case Number                          Subject                1A/1B/1D                                 FBI Data Descripton                              Description for Counsel
                                                                                    Number
                                                                                                BD-R containing CAIR results from evidence
266T-PG-3397952                    JEFFREY FINLEY                          1B           21     items 1B1, 1B2 and 1B3 for Capital Riot         Finley Scoped Phones and Computer
                                                                                               Discovery
266T-SL-3445017                                                            1A           5      Blu-Ray with videos.                                       Open Source Videos
                                                                                               MPD BWC Full Videos Showing Trevor
266T-SL-3445017                                                            1A           18                                                                BWC Videos
                                                                                               McDonald Spraying Police with Pepper Spray
                                                                                               One (1) DVD containing artifacts of interest
266T-TP-3409274                    EDDIE GEORGE                            1B           8                                                      George Scoped Google Return
                                                                                               from           Google search warrant return.
                                                                                               Original copy - scoped version of Evidence Item
266T-TP-3409274                    EDDIE GEORGE                            1B           10     1B4 in case 266-TP-3409274, LG Tablet (IMEI George Scoped LG Tablet
                                                                                               014300006122699, FCC ID ZNFV410)
                                                                                                2 DVDs containing the recorded attempt to
266T-WF-3480662                    RONALD LOEHRKE                          1A           18     interview Ronald Loehrke (One labeled           Loehrke Interview Audio and Video
                                                                                               "Original" and one labeled "Working Copy")
266T-WF-3480662                    RONALD LOEHRKE                          1B           8      Scoped Media results generation of Loehrke 1B2 Loehrke Scoped Macbook
266T-WF-3480662                    RONALD LOEHRKE                          1B           9      Working copy of 1B1 scoped results.             Loehrke Scoped iPhone
                                                                                               (U) CD with search photos                       Haffner Search Photos, Docs and
266T-WF-3491253                    JAMES HAFFNER                           1A           27
                                                                                                                                               Interview
266T-WF-3491253                    JAMES HAFFNER                           1A           31     (U) Recorded Interview of Haffner               Haffner Interview Video
266T-WF-3491253                    JAMES HAFFNER                           1B            4     Scoped Results of 1B1 and 1B3                   Haffner Scoped Phone and iPad
266T-WF-3491253                    JAMES HAFFNER                           1D            1     Custodial Interview of James Haffner            Haffner Interview Audio




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